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                         CASE NOS. 15-5850 & 15-5851

                    UNITED STATES COURT OF APPEALS
                         FOR THE SIXTH CIRCUIT



UNITED STATES OF AMERICA                                      PLAINTIFF-APPELLEE


V.


TERRY R. SMITH                                        DEFENDANTS-APPELLANTS
GERRY SMITH


             APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF KENTUCKY



                    BRIEF OF THE PLAINTIFF-APPELLEE
                      UNITED STATES OF AMERICA


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       STATEMENT REGARDING ORAL ARGUMENT

The United States does not request oral argument.




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                         STATEMENT OF THE ISSUES

                             Terry Smith and Gerry Smith

      I.      Whether Terry and Gerry Smith’s drug offenses were properly joined

with Terry Smith’s firearm offense.

                                      Terry Smith

      II.     Whether Terry Smith’s conviction for distributing oxycodone that

resulted in the death of the user is supported by sufficient evidence.

      III.    Whether Terry Smith’s cumulative error claim fails as a matter of law.

                                    Gerry Smith

      IV.     Whether Gerry Smith’s indictment was constructively amended or

modified by the evidence.

      V.      Whether Gerry Smith’s conviction for conspiring to distribute

oxycodone pills is supported by evidence of her guilt.


                          STATEMENT OF THE CASE

      From March of 2011, through August 22, 2013, Terry Smith, assisted by his

wife, Gerry, operated a drug trafficking organization in Kentucky. [R. 261:

Presentence Report at 1067 (¶ 3); see R. 287: Richard Dalrymple, TR (Day 2) at

1392.] The Smiths owned a trailer park and recruited family members, drug

addicts, and drug users, including Bill Stanley, Patty Smallwood, Christopher


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Gregory, Jimmy Harris, Gary Nantz, Rose Senters, Angela Smith, Betty Tipton,

and Brandon Stanley, who, with the exception of Angela Smith, rented trailers

from them to obtain prescription pain medication, including oxycodone, which the

Smiths distributed. [R. 287: Bill Stanley, TR (Day 2) at 1476-94; R. 287:

Christopher Gregory, TR (Day 2) at 1537-44; R. 287: Jimmy Harris, TR (Day 2)

at 1560-70; R. 287: Gary Nantz, TR (Day 2) at 1577-83; R. 287: Rose Senters,

TR (Day 2) at 1590-98; R. 287: Angela Smith, TR (Day 2) at 1604-10; R. 288:

Betty Tipton, TR (Day 3) at 1649-51; R. 288: Brandon Stanley, TR (Day 3) at

1666-68.] The Smiths’ plan was simple. They organized and financed trips to

pain clinics in several states, including Florida, Georgia and Tennessee. [R. 287:

Bill Stanley, TR (Day 2) at 1477-79, 1491; R. 287: Christopher Gregory, TR (Day

2) at 1540, 1542-43; R. 287: Jimmy Harris, TR (Day 2) at 1560-75; R. 287: Gary

Nantz, TR (Day 2) at 1579-88; R. 287: Rose Senters, TR (Day 2) at 1594, 1601-

02; R. 288: Betty Tipton, TR (Day 3) at 1650-55; R. 288: Brandon Stanley, TR

(Day 3) at 1668-70.] Typically, Terry Smith would hire recruits to travel with him,

Jimmy Harris, or another driver to the clinics. [R. 287: Bill Stanley, TR (Day 2) at

1481; R. 287: Christopher Gregory, TR (Day 2) at 1540, 1542; R. 287: Jimmy

Harris, TR (Day 2) at 1560-70, 1572-73; R. 287: Gary Nantz, TR (Day 2) at 1579-

81, 1587-88; R. 287: Rose Senters, TR (Day 2) at 1592-94, 1599; R. 288: Betty

Tipton, TR (Day 3) at 1651-55; R. 288: Brandon Stanley, TR (Day 3) at 1670.]

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Terry paid for all of the expenses, including the doctor visits, which could cost

$250 a person, and to have the prescriptions for pain medication, including

oxycodone, filled. [R. 287: Bill Stanley, TR (Day 2) at 1477-79, 1490; R. 287:

Christopher Gregory, TR (Day 2) at 1543-44; R. 287: Jimmy Harris, TR (Day 2)

at 1565-66, 1576; R. 287: Gary Nantz, TR (Day 2) at 1580; R. 287: Rose Senters,

TR (Day 2) at 1594, 1601-02; R. 288: Betty Tipton, TR (Day 3) at 1651, 1657;

R. 288: Brandon Stanley, TR (Day 3) at 1668, 1670.] Then, he took possession of

the medication, which he sold or had someone else sell. [R. 287: Bill Stanley, TR

(Day 2) at 1491-94, 1508; R. 287: Christopher Gregory, TR (Day 2) at 1541-42,

1548, 1555-57; R. 287: Jimmy Harris, TR (Day 2) at 1568, 1570, 1574; R. 287:

Gary Nantz, TR (Day 2) at 1581; R. 287: Rose Senters, TR (Day 2) at 1596-97,

1602; R. 288: Betty Tipton, TR (Day 3) at 1656; R. 288: Brandon Stanley, TR

(Day 3) at 1669-70.] He sometimes paid his recruits with prescription pills or

reduced their rent. [R. 287: Bill Stanley, TR (Day 2) at 1482, 1493; R. 287:

Christopher Gregory, TR (Day 2) at 1543-44; R. 287: Gary Nantz, TR (Day 2) at

1579, 1581, 1585; R. 287: Rose Senters, TR (Day 2) at 1592-93, 1597; R. 288:

Betty Tipton, TR (Day 3) at 1651, 1657; R. 288: Brandon Stanley, TR (Day 3) at

1672-73, 1677, 1688.] Gerry kept a record of those involved in these trips.

[R. 288: Brandon Stanley, TR (Day 3) at 1671, 1678-79; R. 287: Richard

Dalrymple, TR (Day 2) at 1413-14, 1425-26.] She and Terry also obtained

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prescription medication from out-of-state clinics. [R. 287: Richard Dalrymple, TR

(Day 2) at 1415-18, 1422-25; R. 287: Angela Smith, TR (Day 2) at 1607-09.]

And on one occasion, she organized drug sales and took possession of the proceeds

of the sales. [R. 287: Christopher Gregory, TR (Day 2) at 1541, 1556-57.] Gerry

managed the proceeds of the drug sales. [R. 288: Brandon Stanley, TR (Day 3) at

1669-71.] And she and Terry burned evidence behind their house. [Id. at 1682.]

Medical records from clinics and a pharmacy confirm many of the trips. [R. 287:

Richard Dalrymple, TR (Day 2) at 1397-407, 1413-18, 1422-25; R. 288: Jennifer

Mathis, TR (Day 3) at 1685-91.]

      On September 10, 2011, Patty Smallwood, an addict who rented from the

Smiths, died. [R. 205: Exhibit and Witness List at 757, Government Trial Exhibit

10, APX at 39; see R. 287: Colloquy, TR (Day 2) at 1515 (exhibit 10 admitted);

R. 287: Jared Becknell, TR (Day 2) at 1512, 1519; R. 261: Presentence Report at

1069 (¶ 17 n.2).] The day before her death, Terry Smith took her and her live-in

fiancé to a pain clinic in Georgia to obtain prescriptions for oxycodone pills.

[R. 261: Presentence Report at 1069 (¶ 17 n.2); R. 287: Bill Stanley, TR (Day 2)

at 1476, 1483-84, 1487.] Terry financed the trip. [R. 287: Bill Stanley, TR (Day

2) at 1484-86.] On their return trip to Kentucky, Patty and Bill had the

prescriptions filled for Terry. [Id. at 1485-86, 1491; R. 288: Brandon Stanley, TR

(Day 3) at 1672-73.] Terry gave some of the pills to Patty and Bill. [R. 287: Bill

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Stanley, TR (Day 2) at 1486; R. 288: Brandon Stanley, TR (Day 3) at 1673.] That

evening, Patty and Bill used the drugs. [R. 287: Bill Stanley, TR (Day 2) at 1487,

1509.] Patty went to bed during the early morning hours. [Id. at 1487-88, 1509-

10.] Bill passed out on a couch. [Id. at 1487, 1510.] Patty died during the night.

[Id. at 1487; R. 288: Brandon Stanley, TR (Day 3) at 1673.] A toxicology report

showed that she had over four times the therapeutic level of oxycodone in her

system, as well as therapeutic levels of other drugs. [R. 287: Jared Becknell, TR

(Day 2) at 1514-17; R. 287: Michael Ward, TR (Day 2) at 1530.]

      During the drug conspiracy, witnesses saw Terry Smith in possession of

firearms. [R. 287: Gary Nantz, TR (Day 2) at 1582; R. 288: Brandon Stanley, TR

(Day 3) at 1682-83.] The police also found a cache of firearms and ammunition in

the Smiths’ home. [R. 288: Ian Dalrymple, TR (Day 3) at 1698-705; R. 205:

Exhibit and Witness List at 758, Government Trial Exhibit 12, APX at 40; see

R. 288: Colloquy, TR (Day 3) at 1701 (admission of exhibit 12).]

      The Smiths were indicted for their drug activity. [R. 163: Third

Superseding Indictment at 476.] A jury convicted them for conspiring to distribute

oxycodone. [R. 208: Verdict at 761.] The jury also convicted Terry for

distributing oxycodone that resulted in Patty Smallwood’s death and for possessing

a firearm after being convicted of a felony crime. [Id. at 761-62.] The district

court sentenced Gerry to imprisonment for ninety months. [R. 257: Judgment at

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1044.] The court sentenced Terry to imprisonment for life. [R. 258: Judgment at

1050.] These appeals followed. [R. 259: Notice of Appeal at 1055; R. 264:

Notice of Appeal at 1086.]


                       SUMMARY OF THE ARGUMENT

      I.     Terry and Gerry Smith’s drug offenses were properly joined with

Terry Smith’s firearm offense. The Smiths have failed to show that they were

prejudiced by the joinder. Firearms are considered to be tools of the drug trade and

are properly joined with drug offenses when, as here, the crimes are sufficiently

connected on the face of the indictment. Terry’s claim that there is no temporal,

logical, or factual connection between his possession of firearms and his

distribution of oxycodone and Patty’s Smallwood’s death is baseless. The dates of

the conspiracy and the dates he possessed and used firearms, as shown on the face

of the indictment, show a close connection between the offenses. The Smiths’

numerous claims that they were prejudiced by the joinder of the firearm and drug

offenses are baseless. Moreover, any prejudice was cured by the district court’s

instructions and special admonition to consider proof regarding the firearms

offense only for the purpose of determining whether or not Terry committed that

specific criminal act, as well as his stipulation to his prior conviction.




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      II.     Terry Smith’s conviction for distributing oxycodone that resulted in

the death of the user is supported by sufficient evidence. The evidence shows that

Patty Smallwood went to a pain clinic in Georgia the day before her death for

Terry, that she obtained prescriptions for oxycodone, that she had the prescriptions

filled for Terry, that he gave her some of the oxycodone pills, that she snorted the

pills, and that she died. A forensic toxicologist testified that she had over four

times the therapeutic range of oxycodone in her system and would not have died

had she not consumed oxycodone. Terry’s expert could not rule out that

oxycodone caused her death. Terry’s attempt to distance himself from the drug

transaction fails in view of the evidence. His claim that the evidence failed to

prove the cause of Patty’s death is misplaced. The government only needed to

prove that her consumption of oxycodone combined with other factors resulted in

her death.

      III.    Terry Smith’s claim that cumulative, harmless errors — the joinder of

the firearm and drug offenses and the sufficiency of the evidence supporting his

conviction for distributing drugs that caused the user’s death — mandate the

vacation of his conviction, fails as a matter of law. His sufficiency challenge is

a guilt-based inquiry, which is not subject to a harmless error review. Regardless,

he has failed to show that any error in joining the firearm and drug counts affected

the quantum of evidence, as he claims, necessary for his conviction.

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      IV.    Gerry Smith’s indictment was not constructively amended or modified

by the evidence. The indictment alleged that she and Terry Smith conspired to

distribute oxycodone pills from March 2011 through August 22, 2013. The

evidence offered at trial proved the charge and was entirely congruent with the

facts alleged in the indictment. The evidence did not alter or modify the elements

of the crime charged in the indictment or prove facts materially different from

those alleged in the indictment. Gerry’s claim that the government’s closing

argument constituted either a constructive amendment of the indictment or

a variance fails as a matter of law because the claim is based on an erroneous legal

principle — that an attorney’s arguments are evidence or the equivalent of court

instructions. Her claim that the evidence at trial proved two conspiracies is

unsupported.

      V.     Gerry Smith’s conviction for conspiring to distribute oxycodone pills

is supported by evidence of her guilt. Gerry failed to preserve her claim that the

evidence is insufficient to convict her of the drug conspiracy. Nonetheless, the

record is not devoid of evidence pointing to her guilt. The evidence shows that she

obtained drugs from a pain clinic to be distributed by her husband and others, was

given money generated by drug sales, and on occasion, gave drugs to Christopher

Gregory to sale. And the evidence shows that she, along with her husband,



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destroyed evidence. Gerry’s claim that the evidence failed to show that she agreed

to join the conspiracy is baseless.


                                      ARGUMENT

      I.     Terry and Gerry Smith’s drug offenses were properly joined with
             Terry Smith’s firearm offense.

      An indictment “may charge a defendant in separate counts with [two] or

more offenses if the offenses charged . . . are of the same or similar character, or

are based on the same act or transaction, or are connected with or constitute parts

of a common scheme or plan.” Fed. R. Crim. P. 8(a). An indictment also “may

charge [two] or more defendants if they are alleged to have participated in the

same act or transaction, or in the same series of acts or transactions, constituting an

offense or offenses.” Fed. R. Crim. P. 8(b). “A strong policy presumption exists

in favor of joint trials when charges will be proved by the same evidence and result

from the same acts.” United States v. Critton, 43 F.3d 1089, 1098 (6th Cir. 1995).

However, “[i]f the joinder of offenses . . . appears to prejudice a defendant or the

government, the court may order separate trials of counts . . . .” Fed. R. Crim. P

14(a). “Rule 14 authorizes a defendant to move for severance in situations in

which joinder of multiple offenses or defendants is proper under Rule 8, but

nonetheless would be prejudicial to the defendant.” United States v. Chavis, 296

F.3d 450, 457 (6th Cir. 2002). The Court looks to the allegations on the face of the

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indictment to determine whether joinder was proper under either Rule 8(a) or (b).

See United States v. Deitz, 577 F.3d 672, 691 (6th Cir. 2009) (Rule 8(a)); United

States v. Lewis, 363 F. App’x 382, 391 (6th Cir. 2010) (Rule 8(b)). “The general

test to determine whether severance is warranted involves weighing the possible

prejudice to the defendant from the joinder against the public interest in avoiding

duplicitous, time consuming trials in which the same factual and legal issues must

be litigated.” United States v. Mullen, 550 F.2d 373, 375 (6th Cir. 1977).

A defendant must show “compelling, specific, and actual prejudice” in order to

successfully establish a need for severance. United States v. Saadey, 393 F.3d 669,

678 (6th Cir. 2005).

      During the drug conspiracy, two witnesses observed Terry Smith in

possession of a firearm. Gary Nantz testified that Terry carried a gun in the car on

a trip to a pain clinic to obtain pills. [R. 287: Gary Nantz, TR (Day 2) at 1582.]

Brandon Stanley also testified that he had seen Terry with a “nine-millimeter”

firearm on a “couple [of] occasions.” [R. 288: Brandon Stanley, TR (Day 3) at

1682-83; see R. 163: Third Superseding Indictment at 477 (listing 9 mm pistol).]

Moreover, consistent with Nantz’s and Stanley’s testimony, the police found

a substantial cache of weapons and ammunition in the Smiths’ home in Berea.

[R. 205: Exhibit and Witness List at 758, Government Trial Exhibits 12 & 16,

APX at 40, 47; see R. 288: Colloquy, TR (Day 3) at 1714 (admission of exhibit

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16).] They located a loaded handgun in a bedside table in the master bedroom that

also contained prescription pill bottles for hydrocodone and diazepam. [R. 288:

Ian Dalrymple, TR (Day 3) at 1699-700, 1702.] The police also found four rifles

and six handguns in the residence. [Id. at 1698-705.] A safe in the closet of the

master bedroom contained “the majority of the guns.” [Id. at 1702] The police

obtained the combination for the safe from Gerry. [R. 287: Richard Dalrymple,

TR (Day 2) at 1440; R. 288: Ian Dalrymple, TR (Day 3) at 1703, 1706.]

      Before trial, Terry Smith filed a motion under Rule 14(a) seeking to sever

the firearm and drugs counts. [R. 171: Motion at 503.] He claimed that the counts

should be severed because evidence related to the firearm offense would be

irrelevant and prejudicial to the drug charges. [Id. at 503-05.] He also claimed

that his “readiness” for trial was jeopardized because the firearm charge was added

approximately one month before trial was scheduled to commence. [Id. at 505.]

The district court denied his motion. [R. 185: Opinion and Order at 607.] Terry

renewed his motion at the end of the evidence. [R. 289: Eric Edwards, TR (Day

4) at 1816.] Again, the court denied his motion. [R. 289: Court, TR (Day 4) at

1819.] This Court will review the district court’s denial of Terry’s motion to sever

counts under Rule 14 for abuse of discretion. United States v. Atchley, 474 F.3d

840, 852 (6th Cir. 2007).



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      Gerry Smith, however, did not file a motion to sever her drug count from

Terry Smith’s firearm count. Nor did she join Terry Smith’s motion. Thus, she

must show plain error, that is, “some sort of deviation from a legal rule — that has

not been intentionally relinquished or abandoned,” that is “clear or obvious,” that

“affected the outcome of the district court proceedings,” and that “seriously affects

the fairness, integrity or public reputation of judicial proceedings.” United States

v. Soto, 794 F.3d 635, 655 (6th Cir. 2015) (internal quotation marks omitted)

(“[P]lain-error review applies to claims of misjoinder raised for the first time on

appeal.”).

      Terry and Gerry Smith’s drug offenses were properly joined with Terry

Smith’s firearm offense. They have failed to show that they were prejudiced by

the joinder. Firearms are considered to be tools of the drug trade and are properly

joined with drug offenses when the crimes, as here, are “sufficiently connected” on

the face of the indictment. See Chavis, 296 F.3d at 459; United States v. Wilkins,

253 F. App’x 538, 541 (6th Cir. 2007) (citing Chavis, 296 F.3d at 456) (holding

that offenses are “sufficiently connected” if connection apparent from facts in

indictment); see also Deitz, 577 F.3d at 691 (“Whether joinder was proper under

Rule 8(a) is determined by the allegations on the face of the indictment.”). Here,

as the district court determined, “the temporal and logical connection between the

alleged possession of firearms and the alleged drug trafficking appears on the face

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of the criminal . . . indictment.” [R. 185: Opinion and Order at 609.] The

indictment alleges that Terry and Gerry Smith conspired to distribute and

distributed oxycodone pills and, on a day during the conspiracy and after being

convicted of a felony crime, Terry Smith illegally possessed ten firearms, including

two firearms without a serial number and six large caliber handguns, which he

used to commit and to facilitate the drug offenses. [R. 163: Third Superseding

Indictment at 476-78.]

      Terry’s claim that there is “no temporal, logical, or factual connection”

between his possession of firearms and his distribution of oxycodone and Patty’s

Smallwood’s death,1 see Terry Smith’s Brief at 17-18, 21, is baseless. The date the

police seized firearms from Terry, as reflected in the firearm count, is not

determinative of whether the firearm and drug offenses are connected. The dates

of the conspiracy and the dates Terry possessed firearms, as shown on the face of

the indictment, is determinative because those dates show that the offenses are

closely connection. Moreover, the evidence developed during trial supports


      1
        Terry Smith erroneously claims that the district court’s concluded “that
there was temporal and logical connection between [his] alleged possession of
firearms on August 21, 2013, and his alleged distribution of oxycodone resulting in
Patty Smallwood’s death on September 9, 2011, . . . .” Terry Smith’s Brief at 21
(emphasis added). Rather, the district court noted that “the government included
the factual basis for Court III in its criminal charges filed on August 21, 2013.
[R. 185: Opinion and Order at 610; see R. 1: Complaint at 1 (file-stamped “AUG
21 2013”).]
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joinder of the offenses. Firearms are commonly used by drug dealers for

protection purposes. [R. 286: Richard Dalrymple, TR (Day 1) at 1383.] See

United States v. Swafford, 385 F. 3d 1026, 1030 (6th Cir. 2004) (upholding

admission of testimony, as here, that “drug dealers carry firearms for intimidation

and protection of their product”).

      Circumstantial evidence also indicates that the Smiths “took measures to

obscure or obfuscate their activities.” [R. 288: Court, TR (Day 3) at 1732-33.]

Gerry obtained a concealed deadly weapons license roughly “two months before”

law enforcement searched her residences. [R. 287: Richard Darymple, TR (Day

2) at 1444-45.] This “indicates some effort on her part to distance the defendant,

Terry Smith, from ownership of the guns. Of course, we know that possession

includes intent and control. Here, it was within his residence.” [R. 288: Court,

TR (Day 3) at 1733.] Moreover, although Gerry “gave the combination of the safe

in Berea to law enforcement officers, . . . it doesn’t show that Terry Smith didn’t

have the combination. He may have had it and chosen not to give it.” [R. 288:

Court, TR (Day 3) at 1733.]

      Terry Smith’s claims that he was prejudiced by the joinder of the firearm

and drug offenses, Terry Smith’s Brief at 16-22, are also baseless. He claims that

the district court, in abuse of its discretion, “failed to consider and address the

mandatory life imprisonment” he faced if he was convicted of distributing drugs

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that caused Smallwood’s death, “failed to acknowledge the Hobson’s choice [he]

faced with respect to stipulating that he was a convicted felon,” failed to explain

how the offenses were temporally and logically connected, and “minimize[d] the

timing of the felon in possession” charge. Terry Smith’s Brief at 19. The court

specifically acknowledged “the potential prejudice that may arise from joining

Count III,” the firearm count, but determined that “this prejudice may be cured

through stipulations and jury instructions.” [R. 185: Opinion and Order at 609.]

The court also properly explained that the “the temporal and logical connection

between the alleged possession of firearms and the alleged drug trafficking appears

on the face of the criminal . . . indictment.” [Id. at 609.] See Deitz, 577 F.3d at

691 (noting that appropriateness of joinder is determined by allegations on face of

indictment). And the court correctly reasoned that Smith was not surprised by the

firearm charge because the factual basis of the offense was set out in the complaint

that the government filed earlier. [R. 185: Opinion and Order at 609-10.]

      Gerry Smith also claims that she was prejudiced by evidence that her

husband was prohibited from possessing firearms because he was a convicted

felon, Gerry Smith’s Brief at 36-37, but she was not charged with a firearm

offense, and she has not explained how her husband’s criminal past affected the

jury’s determination that she was involved in a conspiracy to distribute oxycodone,

especially considering that her husband stipulated to having a prior conviction that

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precluded him from possessing firearms and that the jury did not hear any detail of

his criminal history. [See R. 288: Court, TR (Day 3) at 1720 (reading stipulation

to jury).]

       Moreover, any prejudice caused by the joinder of the firearm and drug

counts was cured by the district court’s instructions and special admonition to

consider proof regarding the firearms offense only for the purpose of determining

whether or not Terry committed that specific criminal act, and by his stipulation to

his prior conviction. See Atchley, 474 F.3d at 853 (holding that potential prejudice

may be cured by stipulations and limiting instructions). [R. 204: Jury Instructions

at 734-35 (emphasizing that “only” Terry Smith charged with firearm offense);

R. 290: Court, TR (Day 5) at 1904-06 (same).] Stipulating to a prior felony may

be especially curative where, as here, a defendant is charged with violating 18

U.S.C. § 922(g) because the jury would not be influenced by the substance of the

defendant’s prior conviction. Atchley, 474 F.3d at 853. Additionally, the jury is

presumed capable to adhere to the court’s limiting instructions and to consider

each count separately. United States v. Cope, 312 F.3d 757, 781 (6th Cir. 2002)

(holding that jury is presumed capable of considering each count separately).

       Terry Smith’s assertion that the government “brought the felon in possession

charge belatedly to get the benefit of the unfair prejudicial impact,” Terry Smith’s

Brief at 20, is baseless. Due process does not deprive the government of the

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flexibility to add charges after a defendant has decided not to plead guilty and

proceed to trial. See United States v. Goodwin, 457 U.S. 368, 379-80 (1982).

Moreover, whether charged or not, evidence that Terry Smith possessed a firearm

despite his legal disability was probative of his intent to engage in a conspiracy to

distribute drugs because those who are involved with drugs have a propensity to

carry guns. See United States v. Rhodes, 314 F. App’x 790, 792-93 (6th Cir.

2008); see also United States v. Stone, 218 F. App’x 425, 438-39 (6th Cir. 2007)

(cited in Rhodes) (finding evidence of firearms relevant to conspiracy to sell

narcotics charge).


      II.    The evidence supports Terry Smith’s conviction for
             distributing oxycodone that resulted in the death of the user.

      To convict a defendant who unlawfully distributes oxycodone when “death

or serious bodily injury results from the use of such substance,” 21 U.S.C.

§ 841(a)(1), (b)(1)(C), the government must prove “two principal elements: (i)

knowing or intentional distribution of [a drug], § 841(a)(1), and (ii) death caused

by (‘resulting from’) the use of that drug, § 841(b)(1)(C).” Burrage v. United

States, 134 S. Ct. 881, 887 (2014) (footnote omitted). “In other words, use of the

drug must have been a but-for cause of the victim’s death or injury. But-for

causation exists where use of the controlled substance ‘combines with other factors

to produce’ death, and death would not have occurred ‘without the incremental

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effect’ of the controlled substance.” United States v. Volkman, 797 F.3d 377, 392

(6th Cir. 2015) (citing Burrage, 134 S. Ct. at 888).

      Terry Smith moved for an acquittal on all counts at the close of the

government’s case, and he renewed his motion at the close of all of the evidence.

[R. 288: Eric Edwards, TR (Day 3) at 1725-32; R. 289: Eric Edwards, TR (Day 4)

at 1814-16.] He claimed that the evidence was insufficient to convict him.

[R. 288: Eric Edwards, TR (Day 3) at 1725-32; R. 289: Eric Edwards, TR (Day 4)

at 1814-16.] The district court denied his motion, and the jury found him guilty of

conspiring to distribute and distributing oxycodone. [R. 288: Court, TR (Day 3) at

1732-33; R. 289: Court, TR (Day 4) at 1818; R. 208: Verdict at 761.] The jury

also found “that Patty Smallwood’s death would not have occurred but for the

distribution of oxycodone by Terry Smith.” [R. 208: Verdict at 762.]

      In reviewing a sufficiency challenge, this Court will “ask whether, ‘after

construing the evidence in favor of the Government, no rational trier of fact could

have found the essential elements of a crime beyond a reasonable doubt.’ The

standard is a ‘steep climb,’ and circumstantial evidence alone can defeat

a sufficiency challenge.” Volkman, 797 F.3d at 390 (citations omitted).

      There was sufficient evidence for a rational jury to find that Terry Smith

distributed oxycodone pills to Patty Smallwood and that her death resulted from

the use of oxycodone pills that he distributed to her. Patty Smallwood died on

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September 10, 2011. [R. 205: Exhibit and Witness List at 757, Government Trial

Exhibit 10, APX at 39; see R. 287: Jared Becknell, TR (Day 2) at 1512, 1519;

R. 261: Presentence Report at 1069 (¶ 17 n.2).] The day before her death, Patty,

who was also known as “Big Momma” and “Big Pat,” and others, including Bill

Stanley, went to a pain clinic for Terry Smith. [R. 287: Richard Dalrymple, TR

(Day 2) at 1411; R. 287: Bill Stanley, TR (Day 2) at 1484-85, 1491, 1497, 1500,

1506; R. 288: Brandon Stanley, TR (Day 3) at 1672-73; R. 289: Billy Wombles,

TR (Day 4) at 1758.] Bill and Terry were cousins. [R. 287: Bill Stanley, TR (Day

2) at 1476.] Bill and Patty, who had been dating for ten years, rented a trailer from

Terry. [Id. at 1476, 1483, 1502.] Terry paid for Patty’s and Bill’s doctor visits.

[Id. at 1484-85.] Patty obtained oxycodone prescriptions, which she and Bill had

filled on their return to Kentucky and delivered to Terry at Terry’s house. [Id. at

1485-86; R. 288: Brandon Stanley, TR (Day 3) at 1672-73.] Terry kept a portion

of the pills, and he gave the rest to Patty and Bill. [R. 287: Bill Stanley, TR (Day

2) at 1486; R. 288: Brandon Stanley, TR (Day 3) at 1673.] Patty and Bill went to

their trailer and used the pills that Terry had given them. [R. 287: Bill Stanley, TR

(Day 2) at 1487, 1509-10.] Patty, who was an addict, snorted the pills and went to

bed “late,” around “2:00 or 2:30,” with a headache. [Id. at 1487-88, 1503, 1509-

10.] Bill passed out on the couch and found Patty “dead in the bed” the next

morning. [Id. at 1487, 1510; R. 288: Brandon Stanley, TR (Day 3) at 1673.]

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Medical records from a pain clinic in Georgia show that “within a day or two days”

of her death, the clinic’s doctor prescribed her 42 alprazolam (2 mg.) pills, 154

oxycodone (30 mg.) pills, 84 oxycodone (15 mg.) pills, 20 naproxen (500 mg.)

pills, and 20 omeprazole (20 mg.) pills. [R. 287: Richard Dalrymple, TR (Day 2)

at 1411-12, 1453.]

      The county coroner examined Patty’s body and found no evidence of

trauma. [R. 287: Jared Becknell, TR (Day 2) at 1511-13.] He determined that her

“death was accidental and caused by a combined drug intoxication” from taking

oxycodone, “Diazepam, a metabolite of diazepam, alprazolam, THC, which is

marijuana metabolite, and hydrocodone or Lortab.” [Id. at 1514.] She had a “very

high amount of oxycodone and a relatively normal range of the other drugs.” [Id.

at 1516; see id. at 1517-18.] “The therapeutic range [of oxycodone] is between 10

and 100 nanograms per milliliter, and she had 467,” or “4.67 times the therapeutic

range.” [Id. at 1514, 1517.]

      Michael Ward, a forensic toxicologist, who “retired from the medical

examiner’s toxicology office in 2008 after thirty-three years of service,” concluded

that Patty “would not have died had she not consumed oxycodone on that night.”

[R. 287: Michael Ward, TR (Day 2) at 1523, 1530-321, R. 289: Court, TR (Day

4) at 1749-50.] He testified that this amount of oxycodone was “lethal.” [R. 287:

Michael Ward, TR (Day 2) at 1528.] He agreed with the coroner’s determination

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that Patty had died from combined drug intoxication. He explained “that inasmuch

as you have two opiates, hydrocodone and oxycodone, both working in the same

fashion in depressing the central nervous system, causing a reduction in the ability

for you to breathe.” [Id. at 1530.] He also explained that “you’ve also got

basically two benzodiazepines which are also affecting the central nervous system.

So the combination of those certainly could be a contributing factor.” [Id.] But

without the other drugs, “that level of oxycodone would still be consistent with

being a lethal level for an individual.” [Id. at 1534.] Although he could not rule

out another cause of death, he did not think that she could have compensated for

having four times the therapeutic level of oxycodone in her system even

considering any tolerance to the drug she may have built up over a period of time.

[Id. at 1533-35.]

      Similarly, George Nichols, a retired medical examiner, testified that

“without an autopsy, you can never definitively determine the cause of death.”

[R. 289: George Nichols, TR (Day 4) at 1778, 1784.] But he admitted that Patty’s

oxycodone level was in the toxic range and that her death could be due to

a combined drug effect. [Id. at 1788-90, 1803.] He examined her medical records

and found no history of cardiovascular or respiratory problems. [Id. at 1795,

1800.] A week or so before her death, Patty went to hospital for a black eye.

[R. 287: Bill Stanley, TR (Day 2) at 1507.] At that time, her heart and lungs were

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all functioning normally. [R. 289: George Nichols, TR (Day 4) at 1795.] Thus, he

could not rule out that oxycodone caused her death. [Id. at 1799.] He admitted

that if postmortem drug redistribution raised the level of oxycodone, which was the

only drug in her system above therapeutic levels, other drugs in her system would

also have been higher, “and if you cut the level of oxycodone in half, [the level is]

still twice the therapeutic range.” [R. 289: Colloquy, TR (Day 4) at 1798-99.]

      Terry Smith’s attempt to distance himself from the drug transaction that he

orchestrated fails. See Terry Smith’s Brief at 27-28. He claims that he “wasn’t on

the trip to get the prescription or at the pharmacy where the prescription was

filled,” id. at 28, but he ignores his role as the sponsor and financier of this trip to

obtain prescriptions for oxycodone pills and his distribution of those pills to Patty.

[See R. 287: Bill Stanley, TR (Day 2) at 1484-87, 1509.]

      Terry Smith’s claim that the evidence failed to prove the cause of Patty’s

death, Terry Smith’s Brief at 25-31, is misplaced. “The Government was not

required to prove . . . that oxycodone was [Patty’s] only cause of death. On the

contrary, but-for causation exists where a particular controlled substance — here,

oxycodone — combines with other factors . . . to result in death.” Volkman, 797

F.3d at 395 (citing Burrage, 134 S. Ct. at 888) (internal quotation marks omitted).




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      III.    Terry Smith’s cumulative error claim fails as a matter of law.

      To obtain a new trial on the basis of cumulative error, “a defendant must

show that the combined effect of individually harmless errors was so prejudicial as

to render his trial fundamentally unfair.” United States v. Trujillo, 376 F.3d 593,

614 (6th Cir. 2004) (emphasis added). “[E]rrors that might not be so prejudicial as

to amount to a deprivation of due process when considered alone . . . may

cumulatively produce a trial setting that is fundamentally unfair.” Id. (internal

quotation marks omitted); see United States v. Wheaton, 517 F.3d 350, 371-72 (6th

Cir. 2008) (same).

      Terry Smith’s claim of cumulative error, Terry Smith’s Brief at 32-33, is

misplaced. He argues that the improper joinder of the firearm and drug counts

“watered down the quantum of evidence” necessary for his conviction, id. at 33,

but his sufficiency challenge is a guilt-based inquiry, which is not subject to

a harmless error review. “The sufficiency of the evidence standard and the

harmless error standard are not the same.” United States v. Strong, No. 93-1048,

1993 WL 358535, at *5 (6th Cir. Sept. 15, 1993). A sufficiency of the evidence

review questions the sufficiency of the evidence supporting a guilty verdict,

whereas a harmless error review questions the effect of a trial error on the guilty

verdict. See id. If the evidence supporting a guilty verdict is insufficient, the

conviction will be vacated. See, e.g., United States v. Cox, 357 F. App’x 629, 632

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(6th Cir. 2009) (reversing counts upon finding evidence insufficient to support

conviction). In contrast, “trial error[s] — that is, errors which occurred during the

presentation of the case to the jury, and which may therefore be quantitatively

assessed in the context of other evidence presented in order to determine whether

its admission was harmless beyond a reasonable doubt — are appropriately subject

to harmless-error review.” United States v. Kimbrel, 532 F.3d 461, 469 (6th Cir.

2008) (internal quotation marks omitted). Thus, Terry’s cumulative error claim

rests on his claim of only one error — improper joinder of counts. Terry Smith’s

Brief at 32-33. And “[o]ne error is clearly not sufficient to reverse a conviction on

the basis of cumulative error . . . .” United States v. Presley, 349 F. App’x 22, 32

(6th Cir. 2009).

      Regardless, Terry Smith has failed to show that any error in joining the

firearm and drug counts affected “the quantum of evidence” necessary for his

conviction. He does not claim that the district court improperly instructed the jury,

and the jury is presumed to have followed the court’s instructions. United States v.

Newsom, 452 F.3d 593, 604-05 (6th Cir. 2006).


      IV.    Gerry Smith’s indictment was not constructively amended or
             modified by the evidence.

      A constructive amendment occurs “when an indictment’s terms are

effectively altered by the presentation of evidence and jury instructions that ‘so

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modify essential elements of the offense charged that there is a substantial

likelihood the defendant [was] convicted of an offense other than that charged in

the indictment.’” United States v. Combs, 369 F.3d 925, 936 (6th Cir. 2004)

(quoting United States v. Hathaway, 798 F.2d 902, 910 (6th Cir. 1986)).

“[A] constructive amendment, falls somewhere in the borderland between an actual

amendment and a variance.” Hathaway, 798 F.2d at 910. A variance occurs

“when the charging terms of an indictment are left unaltered, but the evidence

offered at trial proves facts materially different from those alleged in the

indictment.” United States v. Ford, 872 F.2d 1231, 1235 (6th Cir. 1989).

“[A] variance crosses the constructive amendment line only when the variance

creates a substantial likelihood that a defendant may have been convicted of an

offense other than that charged by the grand jury.” Hathaway, 798 F.2d at 911

(internal quotation marks omitted). A variance is not per se prejudical. Id. But

amendments are deemed to be prejudicial. Id. at 910. Because variances between

an indictment and the proof at trial are not per se prejudicial error, the burden is on

the defendant to show that the variance affected his substantial rights. Id. at 910-

11. The defendant must show “prejudice to his ability to defend himself at trial, to

the general fairness of the trial, or to the indictment’s sufficiency to bar subsequent

prosecutions.” Id. at 911 (internal quotation marks omitted).



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      On appeal, Gerry Smith for the first time claims that the indictment was

constructively amended or modified by the evidence. See Gerry Smith’s Brief at

17-26. Generally, this Court reviews such claims de novo. United States v.

Ferguson, 681 F.3d 826, 829 (6th Cir. 2012). But Gerry’s claim will be reviewed

only for plain error because she did not raise it with the district court. See United

States v. Benson, 591 F.3d 491, 497 (6th Cir. 2010) (“[W]here no specific

objection is raised regarding a constructive amendment or a variance before the

district court, [the Court is] limited to ‘plain error’ review on appeal.”).

      Gerry Smith cannot show plain error. The indictment alleged that she and

Terry Smith conspired to distribute oxycodone pills from March 2011 through

August 22, 2013. [R. 163: Third Superseding Indictment at 476.] The evidence

offered at trial proved the charge. [R. 208: Verdict at 761.] See infra

Argument V.

      On appeal, Gerry Smith claims that the government’s closing argument

constituted either a (1) constructive amendment of the indictment, that is, the

government’s argument altered the terms of the indictment, or (2) variance, that is,

the government’s argument proved facts materially different from those alleged in

the indictment. Gerry Smith’s Brief at 23-25. Her claim fails as a matter of law

because it is based on an erroneous legal principle — that an attorney’s arguments

are evidence or the equivalent of court instructions. They are not, as the district

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court instructed the jury. [R. 204: Jury Instructions at 716 (“The lawyers’

statements and arguments are not evidence.”); id. at 714 (“The lawyers have talked

about the law during their arguments. But if what they said is different from what I

say, you must follow what I say. What I say about the law controls.”). See United

States v. Wilson, 168 F.3d 916, 924 n.6 (6th Cir. 1999) (noting that attorneys’

closing arguments are not evidence). Only the evidence presented at trial or the

instructions given by the court have the legal ability to alter the terms of the

indictment or prove facts materially different from those alleged in the indictment.

See Combs, 369 F.3d at 935-36 (defining constructive amendment); Ford, 872 F.2d

at 1235 (defining variance).

      To the extent Gerry Smith claims that the evidence at trial proved two

conspiracies, see Gerry Smith’s Brief at 17-18, 25-26, her argument fails. Gerry

claims she gave hydrocodone pills to Christopher Gregory to sale, see id. at 18-21,

but she ignores evidence that indicates that she gave him oxycodone, not

hydrocodone, pills, as well as a wealth of other evidence that ties her to the

oxycodone conspiracy, particularly Brandon Gregory’s and Angela Smith’s

testimony. See infra Argument V for a more complete discussion of Brandon’s

and Angela’s testimony. Notwithstanding Gerry’s claim, the transcript, in context,

indicates that Gregory misspoke when he used the term “hydrocodone 30s.”

[R. 287: Christopher Gregory, TR (Day 2) at 1556.] The prosecutor’s questions

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plainly referred to oxycodone. [See id. at 1543.] Moreover, Gregory admitted on

cross-examination that the pills were “roxicets,” a form of oxycodone, not

hydrocodone. [Id. at 1556.] And he testified that people were paying $50 apiece

for the pills, consistent with Officer Dalrymple’s testimony regarding the street

value of a 30 milligram oxycodone pill. [Id. at 1557; R. 286: Richard Dalrymple,

TR (Day 1) at 1378.] Regardless, contrary to her claim that hydrocodone was not

a part of the prescription medication prescribed by pain clinic doctors, see Gerry

Smith’s Brief at 22, medical records show that the last doctor that Patty Smallwood

visited in Georgia prescribed hydrocodone for her. [R. 287: Richard Dalrymple,

TR (Day 2) at 1411-12, 1453.]


      V.     Gerry Smith’s conviction for conspiring to distribute oxycodone
             pills is supported by evidence of her guilt.

      A person who conspires to distribute a controlled substance is guilty of

a crime. 21 U.S.C. § 846. “‘To sustain a conviction for conspiracy under 21

U.S.C. § 846, the government must have proved: (1) an agreement to violate drug

laws, in this case 21 U.S.C. § 841; (2) knowledge and intent to join the conspiracy;

and (3) participation in the conspiracy.’” United States v. Sliwo, 620 F.3d 630, 633

(6th Cir. 2010) (quoting Deitz, 577 F.3d at 677); see 21 U.S.C. § 846.

      This Court generally reviews challenges to the sufficiency of the evidence

“in the light most favorable to the prosecution” and will affirm the conviction if

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“any rational trier of fact could have found the essential elements of the crime

beyond a reasonable doubt.” United States v. Warshak, 631 F.3d 266, 308 (6th

Cir. 2010) (quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979)). Under this

standard, a defendant challenging the sufficiency of the evidence bears a heavy

burden. Id. (quoting United States v. Prince, 214 F.3d 740, 746 (6th Cir. 2000)).

In assessing the sufficiency of the evidence, this Court does not “weigh the

evidence, assess the credibility of the witnesses, or substitute [its] judgment for

that of the jury.” United States v. Paige, 470 F.3d 603, 608 (6th Cir. 2006)

(internal quotations omitted). All inferences are drawn and issues of credibility

resolved in favor of the jury’s verdict. Id. “Circumstantial evidence alone is

sufficient to sustain a conviction and such evidence need not remove every

reasonable hypothesis except that of guilt.” United States v. Kelley, 461 F.3d 817,

825 (6th Cir. 2006).

      At the close of the government’s case-in-chief, Gerry Smith did not make

a motion for a judgment of acquittal. Following the district court’s denial of Terry

Smith’s motion for a judgment of acquittal on all counts, the court asked her if she

had a motion. She responded, “I’ll not spend your time with it at this point,

judge.” [R. 288: Colloquy, TR (Day 3) at 1738.] However, Gerry Smith made

a motion for a judgment of acquittal at the close of all of the evidence. She

claimed that the evidence was insufficient to convict of the drug conspiracy.

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[R. 289: Stephen Charles, TR (Day4) at 1810-12.] The district court denied her

motion. [R. 289: Court, TR (Day 4) at 1813-14.]

      “To properly preserve a sufficiency of the evidence issue for appeal, the

defense must make a motion for a judgment of acquittal ‘at the end of the

prosecution’s case-in-chief and at the close of evidence.’” United States v. Sease,

659 F.3d 519, 522 (6th Cir. 2011) (emphasis added). “Failure to make the required

motions constitutes a waiver of the objections to the sufficiency of the evidence.”

United States v. Kuehne, 547 F.3d 667, 696 (6th Cir. 2008) (internal quotation

marks omitted). Gerry Smith did not move for a judgment of acquittal at both the

close of the government’s case-in-chief and the close of the evidence. Thus, her

challenge to the sufficiency of the evidence must be rejected unless her conviction

represents a “manifest miscarriage of justice.” See id. at 697. Under this standard,

a defendant challenging the sufficiency of the evidence bears a heightened burden.

The Court will “only reverse a conviction if the record is devoid of evidence

pointing to guilt.” United States v. Damra, 621 F.3d 474, 494 (6th Cir. 2010).

      The record is not devoid of evidence to convict Gerry Smith of conspiring to

distribute oxycodone pills. Christopher Gregory testified that he went to a pain

clinic in Georgia for the Smiths and that he sold hydrocodone pills for Gerry.

[R. 287: Christopher Gregory, TR (Day 2) at 1538, 1541-42, 1556.] Brandon

Stanley also testified that he made two trips to a pain clinic for the Smiths.

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[R. 288: Brandon Stanley, TR (Day 3) at 1667-68.] He said that Gerry handled

the money most of the time. [Id. at 1671.] He also said, and the evidence

confirms, that she kept a record of the names of those involved in the conspiracy.

[Id. at 1671, 1679; R. 287: Richard Dalrymple, TR (Day 2) at 1425-26.] Brandon

further testified that Terry Smith gave him pills, presumably oxycodone pills, to

sell, and that he always gave money from drug sales to Gerry. [R. 288: Brandon

Stanley, TR (Day 3) at 1669-71 (discussing 15 mg. and 30 mg. oxycodone pills),

1679 (discussing selling pills for Terry and always giving money to Gerry).] And

he testified that Gerry, along with Terry, burned prescriptions, pill bottles, and

receipts behind their house. [Id. at 1682.] Moreover, medical records show that

Gerry traveled to pain clinics, including two in Georgia, to obtain prescriptions for

oxycodone pills. [R. 287: Richard Dalrymple, TR (Day 2) at 1413-22.] The

records also show that she was not taking the oxycodone that had been prescribed

for her. [Id. at 1415-18.] Gerry’s sister-in-law confirmed as much. On one of

Gerry’s trips to Georgia, she passed a packet of sugar and crushed oxycodone pills,

which she had planned to use so she would test positive for the use of oxycodone,

to her sister-in-law when police came into the clinic. [R. 287: Angela Smith, TR

(Day 2) at 1607-09.] Her need to take a supplement containing oxycodone

indicates that she was not seeking treatment for a drug addiction, but was obtaining

pills for the criminal enterprise that she and Terry operated.

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      Gerry Smith’s claim that the evidence failed to show that she agreed to join

the conspiracy, Gerry Smith’s Brief at 29-35, is baseless. She acknowledges that

the evidence shows that she visited pain clinics, gave an unindicted coconspirator

drugs to sale, and handled money, id. at 30, which she claims he admitted could

have come from the sale of antiques, id. at 34. But she erroneously asserts that her

criminal conduct, which involved hydrocodone, not oxycodone, was isolated and

insufficient to show that she had joined the drug conspiracy. Id. at 30-32. Both

Brandon Stanley and Christopher Gregory testified that they made trips to pain

clinics for the Smiths and that they sold prescription pills for Gerry. [R. 287:

Christopher Gregory, TR (Day 2) at 1541-42, 1556; R. 288: Brandon Stanley, TR

(Day 3) at 1667-68.] Brandon also said that the Smiths burned evidence behind

their home. [R. 288: Brandon Stanley, TR (Day 3) at 1682.] His and Gregory’s

testimony, along with evidence that Gerry visited pain clinics, indicates that she

engaged in more than an isolated drug sale involving hydrocodone or Lortab,

which, as Gerry fails to recognize, was also prescribed by the pain clinic doctor.

[R. 287: Richard Dalrymple, TR (Day 2) at 1411-12, 1453.] Gerry similarly

attempts to discount her sister-in-law’s testimony. See Gerry Smith’s Brief at 33.

But she ignores medical records showing that she had not taken the oxycodone

pills that had been prescribed for her. [R. 287: Richard Dalrymple, TR (Day 2) at

1415-18.] And she misconstrues Brandon Stanley’s testimony about the reason he

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gave her money. Brandon plainly testified that he gave the proceeds of his drug

sales to Gerry. [R. 288: Brandon Stanley, TR (Day 3) at 1679.] However, he

seemingly admitted that the names that she had recorded could pertain to renters or

antique sales. [See id.]


                                 CONCLUSION

      Terry Smith’s and Gerry Smith’s convictions should be affirmed.

                                             Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a)(7)(B). According to a computer count, the principal

brief contains 8,127 words.

                                              s/ Charles P. Wisdom Jr.
                                              Appellate Chief


                           CERTIFICATE OF SERVICE

      On March 21, 2016, I electronically filed this brief through the ECF system,

which will send the notice of docket activity to:

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                                              Appellate Chief
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